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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            AT CHARLESTON

UNITED STATES OF AMERICA

v.                                        CRIMINAL NO. 2:04-00019-06

TIMOTHY L. SINGLETON

                     MEMORANDUM OPINION AND ORDER

     By letter, defendant requested early release from his term

of supervised release.     The court has considered Mr. Singleton's

background, his performance while on supervised release, and the

recommendation of the United States Probation Office.                      It has

also caused to be conducted a criminal records check which

revealed no additional criminal activity.             Accordingly, the court

is of the opinion that this is an appropriate case for early

termination of supervised release.

     It is therefore ORDERED that defendant Timothy L. Singleton

be released from his term of supervised release effective

immediately.

     The Clerk is directed to send a copy of this Order to

counsel of record, to the defendant at 137 Beckwoods Dr.,

Beckley, West Virginia, 25801, to the United States Marshal for

the Southern District of West Virginia, and the Probation Office

of this court.

     IT IS SO ORDERED this 10th day of September, 2010.

                                    ENTER:


                                     David A. Faber
                                     Senior United States District Judge
